              Case 2:19-cv-02745-DDC-TJJ Document 29 Filed 08/20/20 Page 1 of 2

                                  UNITED STATES DISTRICT COURT
                                       DISTRICT OF KANSAS


CODY PATTERSON,                                    )
                                                   )
                             Plaintiff(s),         ) CIVIL ACTION
                                                                          2:19-cv-02745
                                                   ) CASE NO.
v.                                                 )
                                                   )
KALMAR SOLUTIONS, LLC,
                                                   )
                             Defendant(s).         )



                                     ADR REPORT

TYPE OF ADR:                 Mediation                Other:__________________

Name of Mediator or other Neutral:           Joseph Eischens

ADR Session Held (date): August 6, 2020

Additional Session(s) Held, if any (date): N/A


Results of Referral to ADR:

     Case settled before ADR                  Case did not settle

     Case settled at ADR session              Case settled in part


Mediation Fees (answer only if private mediator used): $3,830.00
Did neutral serve pro bono? Yes      or No    .

Did neutral serve for a reduced fee? Yes          or No     .
Status of litigation when ADR occurred–please check one:
TRO                  pre-discovery         partial discovery                 discovery complete
pending dispositive motion              After dispositive motion ruling      other



Length of ADR session: Approximately 7.5 hours.



       #/"$
             Case 2:19-cv-02745-DDC-TJJ Document 29 Filed 08/20/20 Page 2 of 2
             8/20/2020                                          /s/ Camille L. Roe
Dated:
                                                               Attorney Signature

(ATTENTION: This form is to be FILED by defense counsel within #%(&'""$ days of the
conclusion or cancellation of the ADR session. This form must be completed and returned even
if the ADR session was not held. )//4=498,6 19;7< 7,B -0 ;0=;40?0/ 1;97 =30 *9>;="< @0-<4=0
,= 3==:&$$5</#><.9>;=<#29?$48/0A#:3:$19;7<$(9:08')==9;80B+9;7<).


                                         THIS FORM IS FILED
         No information other than that specifically requested should be included on this form.




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